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 AO 106(Rev. 04/10) Application for a Search Warrant



                                                                        District Court
                                                                     for the
                                                          Eastern District of Virginia
                                                                                                   UNDER SEAL
              In the Matter of the Search of
          (Briefly describe the property to be searched
                                                                                  Case No. 1:19-SW-
             or identify the person by name and address)
Information associated with YASSERNADER93(^GMAIL.COM that
 are in custody of the Federal Bureau of Investigation located at 9325                                                     FtB ! 3 2019
                             Discovery Blvd.,
                       Manassas, Virginia 20109
                                                                                                                        CLERK. U.S. DISTRICT COURT
                                              APPLICATION FOR A SEARCH WARRANT                                            ALEXANDRIA. VIRGINIA

         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that 1 have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See attachment A"

 located in the              Eastern         _ District of                 Virginia            ,there is now concealed (identify the
person or describe the property to be seized)'.
  See attachment B



           The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 ivT evidence of a crime;
                 sT contraband, fruits of crime, or other items illegally possessed;
                 sf property designed for use, intended for use, or used in committing a crime;
                 O a person to be arrested or a person who is unlawfully restrained.

           The search is related to a violation of:

              Code Section                                                      Offense Description
         18 U.S.C.§ 2252(a)(1)                     Knowing transportation or shipment of child pornography
         18 U.S.C.§ 2252(a)(2)                     Receipt and distribution of child pornography
         18 U.S.C.§ 2252(a)(4)(B)                  Possession of printed material depicting minors engaged in sexually explicit condu
           The application is based on these facts:
         See attached affidavit


           fif Continued on the attached sheet.
            □ Delayed notice of                   days (give exact ending date if more than 30 day^:                      ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attacjj@(^l


                                                                                               Applicant's signature

                                                                                      Ted p. Delacourt, Special Agent - FBI
                                                                                               Printed name and title

 Sworn to before me and signed in my presence.
                                                                                      ./S/
                                                                        John F. Anderson
 Date:     {^d3>.?c>i«=v                                                United States Magistrate Judge
                                                                                                 Judge's signature

 City and state: Alexandria, Virginia                                          Honorable John Anderson, U.S. Magistrate Judge
                                                                                               Printed name and title
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